      6:21-cr-00753-DCC         Date Filed 12/28/21      Entry Number 33        Page 1 of 1




                    IN THE DISTRICT COURT OF THE UNITED STATES

                           FOR THE DISTRICT OF SOUTH CAROLINA



UNITED STATES OF AMERICA )                            CR. NO. 6:21-753
                         )
                -vs-     )                    DEFENSE POSITION ON DEFENDANT’S
                         )                    WAIVER OF RIGHTS UNDER THE IADA
KWAME KHALIL BROWN       )




       Although, Defendant Brown has requested that he be returned to state custody in Georgia,

the IADA creates no right that this request is mandatory. Actually, the exact opposite is true. The

IADA does create the right to remain in federal custody pending the resolution of the federal

charges. Whether to keep a defendant in federal custody or to return him to state custody is in the

discretion of the court.

       Although the defendant wishes to be returned to Georgia where he believes that he will

receive parole if he is in their custody, the IADA does not appear to grant him this right.



                                              Respectfully submitted


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Greenville, South Carolina
